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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE


JULIE A. JENKINS on behalf of             )
herself and her patients, et al.          )
                                          )
                    Plaintiffs,           )
                                          )
v.                                        ) Docket No. 2:17-cv-366-NT
                                          )
MARIANNE LYNCH, District                  )
Attorney of Penobscot and Piscataquis     )
Counties, et al.,                         )
                                          )
                    Defendants.           )


                           ORDER TO SHOW CAUSE

      On May 30, 2019, Governor Janet T. Mills signed legislation enacted by the

Maine Legislature that permits certain health care professionals to perform

abortions. L.D. 1261 (129th Legis. 2019). The parties explain why, in light of that

legislation, I should not issue an Order of Dismissal in this case. The parties shall

respond to this Order to Show Cause on, or before, June 14, 2019.

SO ORDERED.

                                             /s/ Nancy Torresen
                                             United States Chief District Judge

Dated this 3rd day of June, 2019.
